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 1                                                                      The Honorable Robert S. Lasnik
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12                            UNITED STATES DISTRICT COURT
13                      WESTERN DISTRICT OF WASHINGTON AT SEATTLE
14
15   NINTENDO OF AMERICA INC.,
16                                                        NO. 2:21-cv-00519-RSL
17                       Plaintiff,
18                                                        FINAL JUDGMENT AND PERMANENT
19           v.                                           INJUNCTION
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21   GARY BOWSER,
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23                       Defendant.
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27          This matter came before the Court on the parties’ Consent to Entry of Judgment and
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29   Permanent Injunction, Dkt. No. 23. The Court enters judgment as follows:
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31          1.       Plaintiff is hereby awarded judgment against Defendant in the amount of
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33                   US$10,000,000.00.
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35          2.       Each party shall bear its own costs and attorneys’ fees.
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37          In addition, pursuant to Sections 502 and 1203 of the Copyright Act (17 U.S.C. §§ 502,
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39   1203), 28 U.S.C. § 1651(a), the All Writs Act, 28 U.S.C. § 1651, and this Court’s inherent
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41   equitable powers, the Court orders as follows:
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43          1.       A permanent injunction is entered against Defendant enjoining him and his agents,
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45   servants, employees, successors, assigns, and all those acting in privity or under his control from:

     FINAL JUDGMENT AND PERMANENT INJUNCTION - 1                     * 2 5' 2 1      600 University Street
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 1                a.      Offering to the public, advertising, promoting, selling, providing, testing,
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 3         cloning, or otherwise trafficking in any circumvention devices, including but not limited
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 5         to the SX Core, SX Lite, SX Pro, SX Gear, SX Tools, SX License Codes, and/or SX OS,
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 7         including any features of SX OS, such as SX Installer, Gateway 3DS, Stargate 3DS,
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 9         Classic2Magic, or N2 Elite (the “Circumvention Devices”), and any other circumvention
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11         devices or software that target Nintendo, Nintendo’s consoles, devices, or accessories
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13         (including near field communication devices/cards compatible with Nintendo consoles,
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15         such as amiibo), Nintendo’s technological protection measures, and/or Nintendo’s
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17         copyrighted works;
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19                b.      Directly or indirectly infringing, or causing, enabling, facilitating,
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21         encouraging, promoting, inducing, or participating in the infringement of, any of
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23         Nintendo’s copyrights, trademarks, or intellectual property, whether now in existence or
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25         hereafter created, including but not limited to the unauthorized reproduction, display,
26
27         public performance, or distribution of any of Nintendo’s copyrighted video games or
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29         operating systems, which includes the emulation of Nintendo’s videogames;
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31                c.      Destroying, transferring, altering, moving, returning, concealing, or in any
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33         manner hiding any and all video game consoles, video games (or constituent elements
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35         thereof, such as video game files), video game emulators (and any digital files comprising
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37         the same), and any related packaging or promotional material in which Nintendo (including
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39         its parents, subsidiaries, and affiliates) owns or controls an exclusive right under United
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41         States law or pursuant to the laws of any other country or territory (“Nintendo’s Intellectual
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43         Property”) and which were used in connection with TEAM-XECUTER.COM,
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45         SX.XECUTER.COM,             XECUTER.ROCKS,             TEAM-XECUTER.ROCKS,                        and

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 1          MAXCONSOLE.COM or any successor websites, chatrooms, or other social media
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 3          websites or apps (including, without limitation, groups or chats on Facebook, Discord,
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 5          GBATemp, Reddit, Telegram, Skype, WeChat, WhatsApp, Signal, or their equivalent) (the
 6
 7          “Websites”), and all documents and records relating or referring in any way to Nintendo’s
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 9          Intellectual Property in connection with the Websites;
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11                   d.     Committing any other violation of Nintendo’s intellectual property rights,
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13          worldwide, whether now existing or hereafter created; and
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15                   e.     Effecting assignments or transfers, forming new entities or associations, or
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17          using any other device for the purpose of circumventing or otherwise avoiding the
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19          prohibitions set forth in subparagraphs (a)-(d).
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21          2.       The Court further enjoins Defendant and all third parties acting in active concert
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23   and participation with Defendant—including but not limited to any domain name registrars or
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25   registries holding or listing any of Defendant’s Websites—from supporting or facilitating access
26
27   to any or all domain names, URLs, websites (including, without limitation, TEAM-
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29   XECUTER.COM, SX.XECUTER.COM, XECUTER.ROCKS, TEAM-XECUTER.ROCKS, and
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31   MAXCONSOLE.COM), including any successor websites, chatrooms, and other social media
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33   websites or apps (including, without limitation, groups or chats on Facebook, Discord, GBATemp,
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35   Reddit, Telegram, Skype, WeChat, WhatsApp, Signal, or their equivalent) through which
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37   Defendant trafficked in circumvention devices that threaten Plaintiff’s technological protection
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39   measures or which infringe Plaintiff’s rights under the Copyright Act.
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41          3.       Defendant is further prohibited from engaging in any other violation of the Digital
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43   Millennium Copyright Act or the Copyright Act, or any other federal or state law, as respects
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45   Nintendo.

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 1          4.       The Court further orders that Defendant and his officers, agents, servants,
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 3   employees, attorneys, and others acting in active concert or participation with Defendant—
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 5   including but not limited to any domain name registrars or registries holding or listing any of
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 7   Defendant’s Websites:
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 9                   a.     surrender, and permanently cease to use, the domain names TEAM-
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11          XECUTER.COM,              SX.XECUTER.COM,                XECUTER.ROCKS,                    TEAM-
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13          XECUTER.ROCKS, and MAXCONSOLE.COM, any variant or successor thereof
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15          controlled by Defendant, and any other website or system that Defendant owns or controls,
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17          directly or indirectly, that involves or harms Nintendo’s Intellectual Property; and
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19                   b.     to the extent the domains are under Defendant’s custody or control, or under
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21          the control of registrars or registries with notice of this Order, immediately transfer the
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23          domain names TEAM-XECUTER.COM, SX.XECUTER.COM, XECUTER.ROCKS,
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25          TEAM-XECUTER.ROCKS, and MAXCONSOLE.COM, any variant or successor thereof
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27          controlled by Defendant, and any other website or system that Defendant owns or controls,
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29          directly or indirectly, that involves Nintendo’s Intellectual Property, to Plaintiff’s control.
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31          5.       The Court further enjoins Defendant and all third parties acting in active concert
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33   and participation with Defendant—including but not limited to any domain name registrars or
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35   registries holding or listing any of Defendant’s Websites—from supporting or facilitating access
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37   to any or all domain names, URLs, and websites (including, without limitation, TEAM-
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39   XECUTER.COM, SX.XECUTER.COM, XECUTER.ROCKS, TEAM-XECUTER.ROCKS, and
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41   MAXCONSOLE.COM), or any successor thereof, through which Defendant infringed Plaintiff’s
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43   copyrights.
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 1          6.       The Court further orders, pursuant to 17 U.S.C. §§ 503 & 1203, upon Nintendo’s
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 3   selection and to the extent controlled by Defendant, the seizure, impoundment, and/or destruction
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 5   of all Circumvention Devices, including all copies of SX OS, and all other electronic material or
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 7   physical devices within Defendant’s custody, possession, or control—including any hard drives or
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 9   other electronic storage devices containing such material—that violate Nintendo’s rights under the
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11   DMCA or infringe copyrights owned or exclusively licensed by Nintendo.
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13          7.       This permanent injunction constitutes a binding court order, and any violations of
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15   this order by Defendant will subject him to the full scope of this Court’s contempt authority,
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17   including punitive, coercive, and monetary sanctions.
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19          8.       This permanent injunction is binding against Defendant worldwide, without regard
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21   to the territorial scope of the specific intellectual property rights asserted in the Complaint of the
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23   above-captioned case, and may be enforced in any court of competent jurisdiction wherever
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25   Defendant or his assets may be found.
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27          8.       The Court shall maintain continuing jurisdiction over this action for the purpose of
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29   enforcing this Final Judgment and Permanent Injunction. Plaintiff is not required to post any bond
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31   or security in connection with the Final Judgment and Permanent Injunction, and Defendant has
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33   permanently, irrevocably, and fully waived any right to request a bond or security.
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35          IT IS FURTHER ORDERED that Judgment be entered in this matter in accordance with
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37   the terms set forth above, and that the clerk be, and hereby is, directed to close this matter.
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 1         IT IS SO ORDERED.
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 3         Dated this 7th day of December, 2021.
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 7                                                 A
                                                   Robert S. Lasnik
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 9                                                 United States District Judge
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